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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                         DECISION AND ORDER
                                                                      10-CR-184S-23
JANELLE HAWKINS,

                            Defendant.




       1.     On December 10, 2013, the Defendant entered into a written plea agreement

(Docket No. 886) and pled guilty to a one-count Superseding Information (Docket No. 885)

charging a violation of Title 18 U.S.C. § 4 (misprision of felony).

       2.     On December 10, 2013, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 895) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4. This Court has carefully reviewed de novo Judge Foschio’s December 10, 2013,

Report and Recommendation, the plea agreement, the Superseding Information, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in Judge

Foschio’s Report and Recommendation, and will accept Judge Foschio’s recommendation

that Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty

as charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s December 10,

2013, Report and Recommendation (Docket No. 895)              in its entirety, including the

authorities cited and the reasons given therein.
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      FURTHER, that the plea of guilty of Defendant Janelle Hawkins is accepted, and

she is now adjudged guilty of Title 18 U.S.C. § 4.

      SO ORDERED.


Dated: January 6, 2014
       Buffalo, New York


                                                        s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                            Chief Judge
                                                     United States District Court




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